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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 NOUF AL-BAHAR,                              )
                                             )
 Plaintiff,                                  )
                                             )
 V                                           )                           24-cv-00682
                                                         CIVIL ACTION NO.__________
                                             )
 ANDREW LOCKHART AND                         )          JURY DEMANDED
 BERKLAY AIR SERVICES                        )
 CORPORATION, d/b/a BERKLAY                  )
 SHIPPING,                                   )
                                             )
 Defendants.                                 )


                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff Nouf Al-Bahar (“Plaintiff”) files this, her Original Complaint, complaining of

Defendant Andrew Lockhart (“Defendant Lockhart”) and Defendant Berklay Air Services

Corporation, d/b/a Berklay Shipping (“Defendant Berklay”), and would respectfully show as

follows:

                                     I. INTRODUCTION

       Plaintiff alleges that Defendants committed fraud resulting in Plaintiff’s extraordinary loss

of money and artwork. Plaintiff, who is a citizen of and resides in Kuwait, engaged the services of

Defendant Lockhart to advise her regarding the location, purchase, acquisition, storage and

shipping of numerous pieces of art. Defendant Lockhart then engaged Defendant Berklay, on

Plaintiff’s behalf, to handle the storage and shipping of some of those pieces. Despite Plaintiff

paying Defendant Lockhart $381,975.00 and permitting some or all of the artwork to be stored

with Defendant Berklay, nine of the art pieces allegedly procured by Defendant Lockhart that were

to be stored and shipped by Defendant Lockhart and/or Defendant Berklay were never received by

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Plaintiff (“Undelivered Art Pieces”). Plaintiff alleges that she reasonably relied on Defendants’

misrepresentations regarding the purchase, acquisition, storage and/or shipment of Plaintiff’s

Undelivered Art Pieces and Plaintiff suffered damages in the loss of money and failure to receive

the Undelivered Art Pieces.

                                           II. PARTIES

       1.       Plaintiff Nouf Al-Bahar is an individual and citizen of Kuwait.

       2.       Defendant Andrew Lockhart is an individual and citizen of the State of New York

who resides and may be served with process at 91 E. 3rd Street, Apt 8, New York, NY 10003-9028.

       3.       Defendant Berklay Air Services Corporation, d/b/a Berklay Shipping, is a

corporation that is incorporated under the laws of the State of New York. Defendant Berklay has

its principal place of business in the State of New York at 14 Bond Street, Ste. 233, Great Neck,

New York, 11021.

                               III. JURISDICTION AND VENUE

        4.      The Court has jurisdiction over the lawsuit under 28 U.S.C. § 1332(a)(2) because

the suit is between Defendants who are citizens of the state of New York and Plaintiff who is a

citizen of Kuwait and not a lawfully admitted permanent U.S. resident domiciled in the state of

New York, and the amount in controversy exceeds $75,000, excluding interest and costs because

this lawsuit concerns undelivered artwork that was purchased for $381,975.00, and the present

value likely exceeds that amount.

        5.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because Defendant

Lockhart resides in this district and all Defendants reside in the state of New York.

        6.      Venue is also proper in this district under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to this claim occurred in this district.



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        7.      Lastly, venue may also be proper in this district under 28 U.S.C. § 1391(b)(2),

because a substantial part of the property at issue may be situated in this district to the extent

Defendants are still in possession of Plaintiff’s Undelivered Art Pieces.

                             IV. SUMMARY OF ALLEGATIONS

        8.      Defendant Lockhart, holding himself out to be an expert art advisor with professed

knowledge as to certain contemporary artists, marketability of their artwork, valuation, etc.,

advised Plaintiff regarding the location, purchase, acquisition, storage and shipping of fifteen

pieces of art beginning in June of 2014.

       9.       Defendant Lockhart engaged Defendant Berklay, on Plaintiff’s behalf, to store

and/or ship some of the art pieces.

        10.     Of the fifteen art pieces, six were successfully shipped to Plaintiff and nine (the

“Undelivered Art Pieces”) were not.

        11.     The following provides a list of the six delivered art pieces, their date and amount

of purchase, payment recipient and designated storage/shipper:

 No.        Date of       Description Amount            Payment Recipient         Shipper
            Payment
 1          8-Jan-15      Jose Parla       $135,000.00 Defendant Lockhart         Arrived from
                          (Via Massa,                  Bank of America            United
                          Albissola)                   Account # x750             Kingdom via
                                                                                  Flight
                                                                                  Logistics in
                                                                                  December
                                                                                  2015
 2          On/around     KAWS             $200,000.00 Direct payment to          Arrived from
            2016          (Obliterate)                 New York Gallery           United States
                                                       LLC                        “The Concept
                                                                                  Company
                                                                                  Ltd.” in July
                                                                                  2016
 3          27-Apr-15     Jose Parla       $70,642.00   Defendant Lockhart        Arrived from
                          (Invader                      Bank of America           United
                          Mario)                        Account # x750            Kingdom via

                                                 3
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                                                                                    Flight
                                                                                    Logistics
                                                                                    in Dec 2015
 4         18-Jun-15      Barry X         $250,000.00 Direct payment to             Arrived from
                          Ball                        Barry X Ball Studio           United States
                          (Purity)                                                  via
                                                                                    Masterpiece
                                                                                    International
                                                                                    in November
                                                                                    2015
 5-6       6-Aug-14       Daniel          $60,000.00     Defendant Lockhart         Arrived from
                          Arsham                         Bank of America            United States
                          (Guitars, 2                    Account # x750             via
                          works)                                                    Transcrate
                                                                                    Logistics in
                                                                                    March 2018
                                          $715,642.00


         12.   Defendant Lockhart’s role was to advise Plaintiff regarding her purchases, obtain

the art, and then coordinate the storage of the artwork and ultimate shipment to Plaintiff in Kuwait.

         13.   Defendant Berklay’s role was to store and ship some of the Undelivered Art Pieces.

         14.   As with much of the delivered artwork, Defendant Lockhart advised Plaintiff to

directly pay him $381,975.00 to acquire the Undelivered Art Pieces on her behalf and provide

them to her.

         15.   The following provides a list of the Undelivered Art Pieces at issue in this litigation,

their purchase date and price, payment recipient, and designated storage/shipper:

     No.   Date of         Description         Amount          Payment Recipient Storage/
           Payment                                                               Shipper
     1     12-Jun-14       Pryce Lee Work $18,000.00           Defendant Lockhart      Defendant
                           (Innocent                           Bank of America         Berklay
                           Bystander)                          Account # x750
     2     6-Nov-14        Pryce Lee        $8,000.00          Defendant Lockhart      Defendant
                           (Untitled, 2014,                    Bank of America         Berklay
                           Street                              Account # x750
                           Hieroglyphics
                           Series)


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    3         11-Dec-14      Michael Staniak    $26,500.00  Defendant Lockhart        Defendant
                             (Data_987)                     Bank of America           Berklay
                                                            Account # x750
    4         8-Jan-15       Jose Parla         $57,500.00  Defendant Lockhart        Defendant
                             (Center Street)                Bank of America           Berklay
                                                            Account # x750
    5         15-Apr-15      Murakami           $180,000.00 Defendant Lockhart        Defendant
                             (TBC 2015 #                    Bank of America           Berklay
                             32755)                         Account # x750

    6         13-Apr-15      James Austin       $19,975.00     Defendant Lockhart Defendant
                             Murray                            Bank of America    Berklay
                             (A Strange Mix                    Account # x750
                             of Everyone)
    7         13-May-15      Freddy Tuppen      $6,000.00      Defendant Lockhart     Defendant
                             (VHS Tape                         Bank of America        Lockhart
                             Painting)                         Account # x750
    8         13-May-15      Gregory            $7,500.00      Defendant Lockhart     Defendant
                             Theilker                          Bank of America        Lockhart
                             (Indefinite                       Account # x750
                             Struggle)
    9         31-May-15      Guillaume          $58,500.00     Defendant Lockhart Defendant
                             Leblon                            Bank of America    Lockhart
                             (The Innocents                    Account # x750
                             Coat)
                                                $381,975.00


        16.       Plaintiff alleges that Defendant Lockhart misrepresented on numerous occasions

that he would purchase, acquire, store and ship Plaintiff’s Undelivered Art Pieces on her behalf

and Defendant Berklay misrepresented on numerous occasions that it would store and ship

Plaintiff’s Undelivered Art Pieces on her behalf.

        17.       Despite Defendants’ promises and representations regarding the storage and

delivery of the Undelivered Art Pieces, Plaintiff has never received them due to the fraud

perpetuated by Defendants.

        18.       Through a prolonged series of interactions lasting several years, Plaintiff alleges

that Defendants perpetuated their fraud by: a) causing unreasonable delay; b) claiming illegitimate


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storage fees; and c) continually pointing the finger at each other in a shell game designed to avoid

responsibility, detection, and remedial action by Plaintiff.

                                   A. UNREASONABLE DELAY

      19.       In furtherance of their fraudulent promises to store and ship Plaintiff’s Undelivered

Art Pieces, Plaintiff alleges that Defendant Lockhart and/or Defendant Berklay continually created

unreasonable shipping delays. Plaintiff alleges that Defendants repeatedly communicated and

falsely represented to Plaintiff that they would ship the Undelivered Art Pieces, but each

communication pushed the shipment dates further and further back. See e.g., February 29, 2016

(Defendant Lockhart stated that though the artwork was stored with Defendant Berklay, he would

ship with Flight Logistics instead); December 5, 2016 (Defendant Lockhart stated he would work

with Defendant Berklay again to ship - instead of Flight Logistics - because the works were stored

with Defendant Berklay). In all of these instances, Defendant Lockhart and/or Defendant Berklay

delayed the shipment of Plaintiff’s Undelivered Art Pieces.

      20.       Plaintiff alleges that Defendant Lockhart and/or Defendant Berklay created

additional delays when Plaintiff tried to change the storage location and shipper for the

Undelivered Art Pieces to expedite shipping and Defendants failed to work with the new shipper.

See e.g., March 26, 2017 and March 29, 2017 (Defendant Berklay refused to release until storage

fees paid); March 26, 2017 (Defendant Lockhart agreed to work with new shipper but then failed

to do so); August 28, 2017 (Defendants failed to work with new shipper); August 31, 2017

(Defendant Lockhart stated he would talk to new shipper so that works stored in his apartment

could be shipped but did not); September 18, 2017 (Defendant Lockhart continually fails to work

with new shipper); September 28, 2017 (Defendant Lockhart blamed shipping delays on being out

of town and offered to work with new shipper the following week); October 18, 2017 (new shipper



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tried to contact Defendant Lockhart but was not been able to reach him); October 21, 2017

(Defendant Lockhart failed to work with new shipper); October 24, 2017 (new shipper was still

waiting to hear from Defendant Lockhart regarding the pick-up date); May 14, 2018 (Defendant

Lockhart again failed to work with new shipper). Despite Plaintiff’s consistent efforts, Plaintiff

alleges that Defendants caused continual unreasonable delays in the shipment of the Undelivered

Art Pieces to support their fraudulent promises to store and/or ship Plaintiff’s Undelivered Art

Pieces.

             B. ILLEGITIMATE STORAGE FEES AND REFUSAL TO DELIVER

     21.        Additionally, Plaintiff alleges that Defendants perpetuated their fraud by refusing

to deliver the Undelivered Art Pieces despite having them in their possession. Defendant Berklay

repeatedly refused to release the Undelivered Art Pieces until self-inflated storage fees were paid.

(See e.g., March 26, 2017; March 29, 2017; April 2, 2017; April 13, 2017 below). The vast amount

of storage fees demanded by Defendant Berklay were the result of the Defendants’ unreasonable

delays combined with their shell game regarding possession of, and responsibility for, the

Undelivered Art Pieces. While refusing to ship, Defendant Berklay also went so far as to demand

storage fees. Defendant Berklay concurrently threatened to deem the artwork abandoned, despite

Plaintiff’s continual attempts to seek the delivery of the Undelivered Art Pieces. See e.g., April 2,

2017; April 13, 2017 (Plaintiff seeks delivery but Defendant Berklay refuses to release any work

until storage fees are paid); February 14, 2018 (“Your artwork was picked up, crated, and stored

now for over 3 years. If you do not have any need for this work, we will go to court as of MARCH

1, and claim these goods as ABANDONED.”)

      22.       Plaintiff alleges that Defendant Berklay refused to ship Plaintiff’s Undelivered Art

Pieces while also claiming it would consider them abandoned (and while demanding storage fees,



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denying knowledge of storage crate contents and blaming the loss of the some of the pieces on

Defendant Lockhart, as discussed in Section C below).

      23.       Plaintiff alleges that Defendants’ refusals to deliver were in support of their

fraudulent scheme to obtain Plaintiff’s money and Undelivered Art Pieces and that they never

intended to provide the Undelivered Art Pieces to Plaintiff.

                      C. SHELL GAME OF SHIFTING RESPONSIBILITY

      24.       Lastly, Plaintiff alleges that Defendants created a shell game of shifting the

responsibility for the loss and failure to ship of some of the artwork and shipment failures by

pointing the finger at each other. Plaintiff was introduced to Defendant Berklay by Defendant

Lockhart reflecting Defendants’ prior relationship. While Defendant Lockhart initially stated,

“most of works now were in his flat” (See May 24, 2016, communications below), Defendants

later agreed to move and store some of the Undelivered Art Pieces with Defendant Berklay and

confirmed that all of the works were “accounted for” between Defendants. (See February 27, 2017,

communications below). During that time, Defendants never represented that any of the works

were missing.

      25.       However, this story changed and Defendants began to hide the ball as to the location

of certain art pieces as Plaintiff’s efforts to obtain the Undelivered Art Pieces intensified.

Defendant Lockhart alleged that Defendant Berklay lost the art while Defendant Berklay claimed

that it was Defendant Lockhart who was responsible instead. See e.g., March 17, 2017, (Defendant

Lockhart stated for the first time “there is one crate that [Defendant Berklay] has to locate.”

Defendant Berklay responded to Defendant Lockhart and stated, “No clue on what is exactly

inside” the crated works); April 13, 2017, (Defendant Lockhart stated the James Austin Murray

work (A Strange Mix of Everyone) “is being located” “and when that work is found we can ship



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it. . . [Defendant Berklay] insisting that full payment be made prior to the release of any work”).

      26.       Defendants continually blamed each other for the loss of some of the artwork. See

e.g., April 24, 2017, (Defendant Lockhart stated Defendant Berklay picked up the stored works

and the missing James Austin Murray work from Defendant Lockhart’s flat and that Defendant

Berklay needed to locate the work. Defendant Lockhart stated Defendant Berklay had lost the work

and Defendant Berklay claimed they had no documentation but that Defendant Lockhart could

come and look for the missing work); February 15, 2018, (Defendant Berklay responded to

Defendant Lockhart (and copied Plaintiff’s assistant) and stated they were not aware of any lost

items and that Defendant Lockhart should come to the warehouse to look at the inventory);

February 15, 2018, (Defendants communicated with each other (copying Plaintiff’s assistant and

agent and Plaintiff) summarizing the situation and Defendant Lockhart asked Defendant Berklay

to release the remaining works while Defendant Berklay invited Defendant Lockhart to come look

for Plaintiff’s (two missing) works at the warehouse).

      27.       This shell game of hiding the art and shifting blame continued even as late as

September 14, 2023, when Plaintiff’s Counsel received an email from Defendant Berklay that “All

items deposited in our warehouse by Mr. Lockhart have been returned to Mr. Lockhart.”

      28.       Plaintiff alleges that Defendants pointed to and blamed each other for the delays in

shipment and the mounting storage fees incurred due to same. See e.g., March 9, 2017, (Defendant

Lockhart stated (copying Defendant Berklay) that shipment had not yet occurred because

Defendant Berklay was finalizing the shipment paperwork and that the works had been inventoried

again); April 13, 2017, (Defendant Lockhart blamed Defendant Berklay for the delays and stated

he had an issue with paying the storage fees); May 10, 2017, (Defendant Lockhart requested that

Defendant Berklay assist with resolving shipping issues); May 16, 2017, (Defendant Lockhart



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emailed regarding lack of response from Defendant Berklay).

        29.    Plaintiff alleges that Defendant Lockhart misrepresented that he would purchase,

acquire, store and ship Plaintiff’s Undelivered Art Pieces on her behalf and Defendant Berklay

misrepresented that it would store and ship Plaintiff’s Undelivered Art Pieces on her behalf and

that Defendants utilized the above-referenced tactics of delay, refusal to deliver, and blame-

shifting in furtherance of same. Defendants’ actions present the classic properties of a concerted

scheme to defraud Plaintiff of her right to possess the Undelivered Art Pieces for which Plaintiff

paid.

        30.    Plaintiff alleges that Defendants knew these promises were false and that they did

not intend to provide the Undelivered Art Pieces to Plaintiff. Plaintiff alleges that Defendants

intended to defraud Plaintiff by taking her money without providing the Undelivered Art Pieces

and/or by retaining the Undelivered Art Pieces. Plaintiff alleges that based on their past successful

dealings, Plaintiff reasonably relied on Defendant Lockhart’s false statements to purchase, acquire,

(and engage Defendant Berklay) to store and ship Plaintiff’s Undelivered Art Pieces on her behalf

and paid Defendant Lockhart $381,975. Plaintiff alleges that based on Defendant Lockhart’s

relationship and past dealings with Defendant Berklay, Plaintiff reasonably relied on Defendant

Berklay’s agreement to store and ship Plaintiff’s Undelivered Art Pieces on her behalf and

permitted Defendant Berklay to take possession of the Undelivered Art Pieces for storage prior to

its shipment of same.

        31.    Plaintiff reasonably relied on Defendants’ false statements and provided payments

to and/or permitted the Undelivered Art Pieces to be stored with Defendants. Defendants have

failed to provide the Undelivered Art Pieces to Plaintiff. Plaintiff has suffered damages in the loss

of money and failure to receive the Undelivered Art Pieces which may have increased in value.



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                                              V. FACTS

A.     Background

      32.      Plaintiff and Defendant Lockhart met in 2013 or 2014 and he offered to assist

Plaintiff in locating various works of art.

      33.      On or about June 11, 2014, Defendant Lockhart provided his personal bank account

information to Plaintiff and requested the wiring of $18,000 for the Pryce Lee Work (Innocent

Bystander) and provided that he would arrange for the shipping to Plaintiff.

      34.      On or about June 12, 2014, Plaintiff’s assistant confirmed the transfer of $18,000

as requested for the Pryce Lee (Innocent Bystander) work.

      35.      On or about July 8, 2014, Defendant Lockhart confirmed he had received the

$18,000 for the Pryce Lee (Innocent Bystander) work and “the funds have arrived to my account

and have since been transferred to the artist. . . we will be arranging the shipping in a few days

once the work has been cleaned and proper crating has been secured. I will coordinate an email

between you and the shipper at that time.”

      36.      On or about November 6, 2014, Defendant Lockhart sent Plaintiff’s assistant an

$8,000 invoice for an additional Pryce Lee work (Untitled, 2014, Street Hieroglyphics Series).

Plaintiff’s assistant responded that the payment had already been sent and attached a copy of the

bank transfer to Plaintiff’s personal bank account.

      37.      On or about June 22, 2015, Defendant Lockhart stated “Also, all of the other works

here in the U.S will be rounded up this week and prepared for shipping. They are Pryce Lee -

Innocent Bystander, Pryce Lee - Street Hieroglyphics, Michael Staniak, Daniel Arsham – Guitars,

Murakami - Enso Painting, Kaws – Obliterate, James Austin Murray . . . I’ll get you the estimates

on all of these once they are all collected by the shipper on Tuesday and we can go from there.”



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      38.     On or about November 12, 2015, Defendant Lockhart confirmed receipt of the

$8,000 payment for the additional Pryce Lee (Untitled, 2014, Street Hieroglyphics Series) work.

      39.     On or about December 9, 2014, Plaintiff’s assistant stated she would send

Defendant Lockhart $26,500 (to his personal bank account) in response to Defendant Lockhart’s

invoice for the Michael Staniak (Data_987) artwork.

      40.     On or about December 15, 2014, Defendant Lockhart confirmed receipt of the

$26,500 payment for the Michael Staniak (Data_987) piece.

      41.     On or about January 8, 2015, Defendant Lockhart sent Plaintiff’s assistant an

invoice for $57,500 for the Jose Parla (Center Street) work, which Plaintiff’s assistant paid to

Defendant Lockhart’s personal bank account.

      42.     On or about April 9, 2015, Plaintiff’s assistant stated she would prepare to transfer

funds in response to Defendant Lockhart’s $180,000 invoice for the Murakami (TBC 2015

#32755) work to his personal bank account.

      43.     On or about April 19, 2015, Defendant Lockhart stated that he had received the

funds for the Murakami (TBC 2015 #32755) work.

      44.     On or about May 13, 2015, Plaintiff’s assistant stated she had sent $13,500 for the

Freddy Tuppen (VHS Tape Painting) and Gregory Theilker (Indefinite Struggle) works to

Defendant Lockhart’s personal bank account.

      45.     On or about May 18, 2015, Defendant Lockhart responded that the Tuppen (VHS

Tape Painting) and Theilker (Indefinite Struggle) payments had been received.

      46.     On or about May 31, 2015, Plaintiff’s assistant stated she had transferred $58,500

for the Guillaume Leblon (The Innocents Coat) work to his personal bank account.

      47.     On or about June 3, 2015, Defendant Lockhart responded that he had received the



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funds for the Leblon (The Innocents Coat) work.

      48.      On or about June 8, 2015, Plaintiff’s assistant and Defendant Lockhart

communicated regarding the $250,000 direct wire transfer to artist Barry X Ball for the Purity

artwork.

      49.      On or about June 22, 2015, Defendant Lockhart stated that the $250,000 wire was

incoming for the Ball (Purity) work.

      50.      On or about July 29, 2015, Lockhart confirmed the shipping costs on the Jose Parla

(Via Massa, Albissola and Invader Mario) works from London to Kuwait City.

      51.      On or about August 3, 2015, Defendant Lockhart and Plaintiff’s assistant

exchanged emails regarding the shipping of the Barry X Ball (Purity) work and crating and re-

crating of other works. Defendant Lockhart stated that the “Invader and one of the Jose Parlas will

ship differently. I will put you in touch with that shipper directly now.”

      52.      On or about August 3, 2015, Defendant Lockhart connects Plaintiff’s assistant with

Defendant Berklay by email in response to Plaintiff’s assistant’s request related to the insurance

of Plaintiff’s unshipped artwork.

      53.      On or about August 5, 2015, Defendant Lockhart forwarded Plaintiff’s assistant

(and copied Dennis Klainberg, President of Defendant Berklay) the invoices for the following

works to be shipped by Defendant Berklay: Daniel Arsham (Guitars), James Austin Murray (A

Strange Mix of Everywhere), Murakami (TBC 2015 #32755), Jose Parla (Center Street), Pryce

Lee (Untitled, 2014 Street Hieroglyphics Series) and Michael Staniak (Data_987). Defendant

Lockhart stated he was waiting on the Pryce Lee (Innocent Bystander) work and asked for

confirmation from Defendant Berkeley that the works would be shipped at the same time.

      54.      On or about August 6, 2015, Defendant Lockhart emailed Plaintiff’s assistant and



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shipper Flight Logistics Group Limited regarding the shipment of Invader (Mario Tse Doung) and

Jose Parla (Via Massa, Albissola) works.

      55.      On or about September 2, 2015, Plaintiff’s assistant emailed Defendants for an

update on status of shipment to be shipped by Defendant Berklay.

      56.      On or about September 7, 2015, Defendant Lockhart emailed Plaintiff’s assistant

and confirmed “all is secure and just waiting on Nouf with Dennis (the shipper) [Defendant

Berklay].”

      57.      On or about September 11, 2015, Defendant Lockhart told Plaintiff’s assistant that

he had spoken to Defendant Berklay about the shipping of the undelivered works and that

Defendant Lockhart would head to JFK Airport the following week for a final walkthrough so that

Defendant Berklay could be in touch regarding insurance.

      58.      On or about October 5, 2015, Defendant Lockhart confirmed with Plaintiff’s

assistant that the following works would be in one consolidated shipment from Defendant Berklay

that will be “shipped forthwith”:

               1.   Daniel Arsham (Guitars (2))
               2.   James Austin Murray (A Strange Mix of Everything)
               3.   Murakami (TBC 2015 #32755)
               4.   Jose Parla (Center Street)
               5.   Pryce Lee (Innocent Bystander)
               6.   Pryce Lee (Untitled, 2014, Street Hieroglyphics Series)
               7.   Michael Staniak (Data_987)

      59.      On or about November and December, 2015, Plaintiff received Jose Parla (Invader

Mario) from Flight Logistics (UK) and Barry X Ball (Purity) from Masterpiece International (not

Defendant Berklay).

      60.      On or about January 31, 2016, Plaintiff’s assistant followed up with Defendant

Lockhart and Defendant Berklay regarding the status of the consolidated shipment.



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      61.      On or about February 4, 2016, Lockhart provided the invoice for Kaws (Obliterate)

($200,000) and stated it would be shipped through Steve Moxon-Riedlin at Flight Logistics and

that there was no need to confer with Defendant Berklay any longer regarding this shipment.

      62.      On or about February 16, 2016, Plaintiff’s assistant followed up with Defendants

regarding the status of Plaintiff’s shipments.

      63.      On or about February 29, 2016, Defendant Lockhart emailed Plaintiff’s assistant

and Steve Moxon-Riedlin at Flight Logistics Group and provided that the Kaws (Obliterate) work

held by Gander and White in Miami had additional crating and packing charges ($620) and that

he had the works with Defendant Berklay sent to Defendant Lockhart’s flat because he intended

to now use Steve Moxon-Riedlin at Flight Logistics to handle the shipping instead.

      64.      On or about April 10, 2016, Defendant Lockhart followed up with Steve Moxon-

Riedlin and copied Plaintiff’s assistants regarding the status of the works that needed to be

collected from Defendant Berklay. Plaintiff’s assistant also inquired about Defendant Lockhart’s

discontinued use of Defendant Berklay. Defendant Lockhart stated he was not using Berklay

because Berklay misplaced another one of his client’s work. Defendant Lockhart also stated the

Kaws (Obliterate) work from Gander and White needed to be shipped as well.

      65.      On or about May 24, 2016, in response to Plaintiff’s assistant’s email requesting a

follow-up, Defendant Lockhart emailed Steve Moxon-Riedlin and Plaintiff’s assistant and stated

that now most of Plaintiff’s works were in Defendant Lockhart’s flat and that he would arrange

transport for them as well as the one work in Miami with Steve Moxon-Riedlin.

      66.      On or about May 26, 2016, in response to Plaintiff’s assistant’s email requesting a

follow-up, Defendant Lockhart emailed Steve Moxon-Riedlin and Plaintiff’s assistant and stated

the works should be ready for shipping within the week. Defendant Lockhart stated he would give



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Steve Moxon-Riedlin dimensions for estimates on shipping costs.

      67.      On or about June 16, 2016, Plaintiff’s assistant followed up with Defendant

Lockhart and Steve Moxon-Riedlin regarding the status of the shipments and the need for the

values of each shipment for insurance purposes.

      68.      On or about June 19, 2016, Defendant Lockhart followed-up with Steve Moxon-

Riedlin and Plaintiff’s assistants to finalize the shipment of the works with Flight Logistics:

     1.   Daniel Arsham (Guitars (2)) (Defendant Lockhart stated these were stored at his “flat”)
          ($60,000)

     2.   James Austin Murray (A Strange Mix of Everywhere) (Defendant Lockhart stated this
          was stored with Defendant Berklay) ($23,500)

     3.   Murakami (“TBC” 2015 #32755) (Defendant Lockhart stated this was stored with
          Defendant Berklay) ($200,000)

     4.   Jose Parla (Center Street) (Defendant Lockhart stated this was stored with Defendant
          Berklay) ($57,500)

     5.   Pryce Lee (Innocent Bystander) (Defendant Lockhart stated this was stored with
          Defendant Berklay) ($18,000)

     6.   Pryce Lee (Untitled, 2014, Street Hieroglyphics Series) (Defendant Lockhart stated this
          was stored with Defendant Berklay) ($8,000)

     7. Michael Staniak (Data_987) (Defendant Lockhart stated this was stored with Defendant
        Berklay) ($26,500)

Defendant Lockhart included invoices and stated he visited Defendant Berklay a couple of weeks

prior and confirmed all the works were there.

      69.      On or about June 26, 2016, Defendant Lockhart emailed Plaintiff’s assistant and

Steve Moxon-Riedlin that he was going to Defendant Berklay’s location on July 5, 2016 to prepare

the art for shipping with Flight Logistics.

      70.      On or about June 27, 2016, Plaintiff’s assistant asked Defendant Lockhart to

“please speed up the process to expedite the shipments.”


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      71.      On or about July 5, 2016, John Hatch, with Gander and White, emailed Plaintiff’s

assistants, Steve Moxon-Riedlin, and Defendant Lockhart to arrange for DHL to pick up Kaws

(Obliterate) for transport (to Kuwait).

      72.      On or about July 11, 2016, Defendants emailed Plaintiff’s assistant and Steve

Moxon-Riedlin regarding Plaintiff’s works stored with Defendant Berklay that were to be

transferred to Steve Moxon-Riedlin for shipment the following week, and Defendant Berklay

confirmed “ok.”

      73.      On or about August 7, 2016, Defendant Lockhart emailed Steve Moxon-Riedlin

and Plaintiff’s assistants regarding the use of a box truck to pick up the artwork from Defendant

Berklay, and Defendant Lockhart stated he was covered by art insurance.

      74.      On or about September 2, 2016, in response to Plaintiff’s assistant’s request for an

update, Defendant Lockhart (copied Defendant Berklay and Steve Moxon-Riedlin) and

represented that he would meet with Defendant Berklay on September 6, 2016 to review getting

the undelivered works shipped.

      75.      On or about September 6, 2016, Defendant Berklay emailed Defendant Lockhart,

Plaintiff’s assistant, and Steve Moxon-Riedlin and stated he had not heard from Defendant

Lockhart that day and was not available the rest of the day but could meet the following morning.

      76.      On or about September 6, 2016, Defendant Lockhart responded to Defendant

Berklay, Plaintiff’s assistant and Steve Moxon-Riedlin and stated he was available on September

8, 2016.

      77.      On or about September 25, 2016, Plaintiff’s assistant followed up with Defendants

(and copied Steve Moxon-Riedlin) regarding the status of the shipment from Defendant Berklay.

      78.      On or about September 28, 2016, Defendant Berklay responded to Plaintiff’s



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assistant’s email regarding the status of the shipment from Defendant Berklay and asked Defendant

Lockhart to “Please advise!” regarding their plan to meet to discuss shipment.

      79.      On or about October 10, 2016, Plaintiff’s assistant followed up with Defendants

(and copied Steve Moxon-Riedlin) regarding the status of the shipment from Defendant Berklay.

      80.      On or about October 12, 2016, Defendant Lockhart responded to Plaintiff’s

assistant, (and copied Defendant Berklay and Steve Moxon-Riedlin) and stated he would collect

the works from Defendant Berklay that week.

      81.      On or about October 24, 2016, Plaintiff’s assistant followed up with Defendants

(and copied Steve Moxon-Riedlin) regarding the status of the shipment from Defendant Berklay.

      82.      On or about October 31, 2016, Defendant Lockhart responded to Plaintiff’s

assistant (copied Defendant Berklay and Steve Moxon-Riedlin) and stated he would collect the

works from Defendant Berklay in three days.

      83.      On or about November 15, 2016, Plaintiff’s assistant followed up with Defendants

(and copied Steve Moxon-Riedlin) regarding the status of the shipment from Defendant Berklay.

      84.      On or about November 30, 2016, Plaintiff’s assistant followed up again with

Defendants (and copied Steve Moxon-Riedlin) regarding the status of the shipment from

Defendant Berklay.

      85.      On or about December 5, 2016, Defendant Lockhart responded to Plaintiff’s

assistant and stated he just got back from Miami Art Basel and would use Defendant Berklay

instead of Steve Moxon-Riedlin with Flight Logistics because the work had been stored with

Defendant Berklay for some time. Defendant Lockhart stated he would work with Defendant

Berklay once Defendant Berklay returned from Miami.

      86.      On or about January 9, 2017, Defendant Berklay stated he was “Standing ready!”



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in response to Plaintiff’s assistant’s email asking Defendant Lockhart for the status of the shipment

of the artworks.

      87.      On or about January 10, 2017, in response to Plaintiff’s assistant’s email asking

Defendant Lockhart for the status of the shipment of the works, Defendant Lockhart stated he

“definitely dropped the ball towards the end of the year” but would meet with Defendant Berklay

the next week to complete the shipment in January.

      88.      On or about January 10, 2017, Defendant Berklay responded to Defendant Lockhart

and Plaintiff’s assistant that he was available January 20, 2017, to prepare the artwork for

shipment.

      89.      On or about February 6, 2017, Defendant Lockhart emailed Defendant Berklay and

Plaintiff’s assistant and asked if Defendant Berklay could finalize the shipment with him on

February 9, 2017.

      90.      On or about February 14, 2017, Plaintiff’s assistant emailed Defendant Lockhart

and stated it had been more than two years since the art was paid in full and they had not been

shipped and stated if they were not delivered within the month, Plaintiff would demand a refund

for the non-delivered works.

      91.      On or about February 14, 2017, Defendant Lockhart responded to Plaintiff’s

assistant that he was planning to finalize everything and would get everything shipped by month’s

end and “that the works in question are all stored safely.”

      92.      On or about February 15, 2017, Defendant Lockhart related to Plaintiff’s assistant

that he planned to meet with the shipper in the next week to ship Plaintiff’s works the next weekend

or early the following week.

      93.      On or about February 22, 2017, Plaintiff’s assistant emailed Defendant Lockhart



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regarding the status of the shipments.

          94.   On or about February 23, 2017, Defendant Lockhart responded to Plaintiff and

Plaintiff’s assistant that he did a walk through with Defendant Berklay and confirmed all the works

were there, except for Daniel Arsham (Guitar, 2), Freddy Tuppen (VHS Tape Painting) and

Gregory Thielker (Indefinite Struggle) which were stored at Defendant Lockhart’s apartment and

the Guillaume Leblon (Innocents Coat) which Defendant Lockhart stated was with the gallery.

Defendant Lockhart stated he and Defendant Berklay would have the remaining works collected

that week and shipped.

          95.   On or about February 27, 2017, Defendant Lockhart updated Plaintiff’s assistant

that the works with Defendant Berklay had been accounted for and were ready to be shipped, the

works in his flat were with the gallery were ready to be collected and that he would arrange for

collection and transport to Defendant Berklay this week. Defendant Lockhart stated he would be

finalizing shipping with Defendant Berklay the next week.

          96.   On or about March 1 and 5, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart and expressed frustration with the lack of shipment.

          97.   On or about March 4, 2017, Defendant Lockhart updated Plaintiff and her assistant

that the works in his flat were ready to be collected on March 8, 2017, and shipped “immediately

after.”

          98.   On or about March 9, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart again regarding the shipments and Defendant Lockhart responded (copying Defendant

Berklay) and stated that Defendant Berklay was finalizing the shipment paperwork and that the

works had been inventoried again.

          99.   On or about March 15, 2017, in response to Plaintiff’s assistant’s request for an



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update, Defendant Lockhart updated Plaintiff’s assistant stating that that he just received the

estimate and would send the estimate that evening.

      100.     On or about March 17, 2017, Defendant Lockhart emailed Defendant Berklay and

copied Plaintiff’s assistant asking Defendant Berklay to identify which crates had which art and

that he knew “there is one crate that [Defendant Berklay] has to locate.” Defendant Lockhart

attached an estimate for crating and storage and air freight costs for $7,912.60 from Defendant

Berklay.

      101.     On or about March 17, 2017, Defendant Berklay responded to Defendant Lockhart

and copied Plaintiff’s assistant and stated, “No clue on what is exactly inside.” Defendant Berklay

requested additional information in preparation for shipping.

      102.     On or about March 20, 2017, in response to Plaintiff’s assistant’s email that

requested a status update and also requested that the storage fee be waived due to the storage costs

accruing because of Defendant Lockhart’s delay, Defendant Lockhart followed up with Defendant

Berklay and copied Plaintiff and Plaintiff’s assistant regarding status.

      103.     On or about March 26, 2017, Plaintiff communicated to her assistant that she would

like her cousin’s shipping company (Transcrate) to take over. On the same date, Plaintiff’s

assistant emailed Mr. Fernandes at Transcrate and asked, per their phone call, that he arrange for

shipping of the artwork, and sent him the list of art and corresponding invoices.

      104.     On or about March 26, 2017, Defendant Lockhart responded to Plaintiff’s assistant

(and copied Defendant Berklay and Mr. Fernandes at Transcrate) and stated that once he was

contacted by Transcrate, he would coordinate everything to get the shipment collected by the

Transcrate team.

      105.     On or about March 26, 2017, Defendant Berklay responded to Plaintiff’s assistant



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and Defendant Lockhart (and copied Mr. Fernandes at Transcrate) and stated that they could not

accommodate Mr. Fernandes that day and the shipment would not be released until payments were

settled.

       106.    On or about March 29, 2017, Plaintiff’s assistant followed up with Defendants (and

copied Plaintiff and Mr. Fernandes at Transcrate) regarding the invoice for packing/crating and

asserted that Defendant Lockhart must cover the outstanding storage costs.

       107.    On or about March 29, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Plaintiff, Defendant Berklay and Mr. Fernandes at Transcrate) regarding

Defendant Berklay who would not release the shipment until the storage, pickup, crating and

turnover costs were settled. Plaintiff’s assistant stated that Plaintiff would cover crating only, but

not storage charges related to Defendants’ delays.

       108.    On or about April 2, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart again (and copied Plaintiff and Mr. Fernandes at Transcrate) regarding the art in

Defendant Lockhart’s possession and Defendant Berklay who would not release shipment until

storage, pickup, crating, and turnover were settled. Plaintiff’s assistant again stated that Plaintiff

would cover crating only, but not charges related to the delays. She asked Defendant Lockhart to

arrange and settle with Defendant Berklay or her legal department would handle.

       109.    On or about April 13, 2017, Plaintiff’s assistant followed up with Mr. Fernandes at

Transcrate regarding his assistance in picking up the artwork.

       110.    On or about April 13, 2017, Defendant Lockhart responded to Plaintiff’s assistant

(and copied Plaintiff, her assistants, Mr. Fernandes and Defendant Berklay) and stated he had

spoken to Plaintiff’s contact Mr. Samir Shah, a New York-based employee of international

shipping company Earth Relocation, and that the James Austin Murray work “is being located”



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“and when that work is found we can ship it. . . [Defendant Berklay] insisting that full payment be

made prior to the release of any work.” Defendant Lockhart blamed Defendant Berklay for the

delays and stated he had an issue with paying the storage fees.

      111.     On or about April 19, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Plaintiff, Defendant Berklay and Mr. Fernandes at Transcrate) regarding the

art shipment update and to confirm the deadline of April 19, 2017 to complete shipment.

      112.     On or about April 23, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart again (and copied Plaintiff, Defendant Berklay and Mr. Fernandes at Transcrate)

regarding resolving issues with Defendant Berklay, the art shipment update, and the deadline of

April 19, 2017 to complete shipment.

      113.     On or about April 24, 2017, Defendants exchanged emails regarding potential loss

of some of the artwork. Defendant Lockhart stated Defendant Berklay picked up the stored works

and the missing James Austin Murray (A Strange Mix of Everyone) work from Defendant

Lockhart’s flat and that Defendant Berklay needed to locate the work. Defendant Lockhart stated

Defendant Berklay had lost the work and Defendant Berklay claimed they had no documentation

but that Defendant Lockhart could come and look for the missing work.

      114.     On or about April 24, 2017, Defendant Lockhart responded to Plaintiff’s assistant

(and copied Plaintiff) regarding communications with Defendant Berklay and the status of the

shipment.

      115.     On or about May 1, 2017, Plaintiff’s assistant followed up with Defendant Lockhart

again (and copied Plaintiff) regarding the release by Defendant Berklay of the artwork ready for

shipment and the location of the missing work.

      116.     On or about May 10, 2017, Plaintiff’s assistant followed up with Defendant



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Lockhart again (and copied Plaintiff and Mr. Fernandes) regarding the lack of an update.

      117.      On or about May 10, 2017, Defendants and Plaintiff’s assistant exchanged emails

regarding the missing Murray (A Strange Mix of Everyone) work and the cause of delays in

shipment and Defendant Lockhart requested that Defendant Berklay assist with resolving shipping

issues. On the same date, Defendants and Plaintiff’s assistant exchanged emails regarding shipping

issues and necessity “to file a legal action. . . to move ahead.”

      118.      On or about May 16, 2017, Defendant Lockhart and Plaintiff’s assistant exchanged

emails regarding the lack of response from Defendant Berklay.

      119.      On or about July 31, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Plaintiff) regarding notification from Transcrate that they had obtained some

artwork from Defendant Lockhart. Plaintiff’s assistant asked Defendant Lockhart for identification

of the artwork and if any remained in his possession.

      120.      On or about August 1, 2017, Plaintiff’s assistant communicated with Tony

Fernandes from Transcrate regarding collection of the two Arsham (Guitars) pieces from

Defendant Lockhart and the storage and shipment of same.

      121.      On or about August 3, 2017, Plaintiff’s assistant followed up with Tony Fernandes

from Transcrate regarding the collection of the two Arsham (Guitars) pieces and the shipment of

those pieces.

      122.      On or about August 8, 2017, Plaintiff’s assistant communicated with Defendant

Lockhart and Tony Fernandes from Transcrate regarding the shipment status of the two Arsham

(Guitars) pieces.

      123.      On or about August 8, 2017, Plaintiff’s assistant communicated with Defendant

Lockhart and Tony Fernandes from Transcrate regarding the shipment status of the two Arsham



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(Guitars) pieces and asked if Freddy Tuppen (VHS Tape Painting), Gregory Thielker (Indefinite

Struggle) and the Guillaume Leblon (Innocents Coat) could also be collected and shipped because

they were not stored with Defendant Berklay.

      124.    On or about August 13, 2017, Plaintiff’s assistant communicated with Tony

Fernandes from Transcrate (and copied Defendant Lockhart) regarding the pickup of the two

Arsham (Guitars) pieces and the remaining pieces stored with Defendant Lockhart that need to be

picked up (Tuppen, Theilker and Leblon).

      125.    On or about August 24 and 28, 2017, Plaintiff’s assistant communicated with

Defendant Lockhart and Tony Fernandes from Transcrate regarding the status of the works

remaining with Defendant Lockhart and not stored with Defendant Berklay.

      126.    On or about August 28, 2017, Plaintiff’s assistant followed up with Tony Fernandes

regarding the status of collecting the remaining works stored with Defendant Lockhart.

      127.    On or about August 31, 2017, Plaintiff’s assistant communicated with Defendant

Lockhart and Tony Fernandes regarding the status of collecting the remaining works stored with

Defendant Lockhart. Defendant Lockhart stated he would talk to Tony Fernandes in the next

couple days regarding the final works to be picked up.

      128.    On or about September 6, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Tony Fernandes) regarding the status of collecting the remaining works

stored with Defendant Lockhart.

      129.    On or about September 7, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Tony Fernandes) regarding the status of collecting the remaining works

stored with Defendant Lockhart.

      130.    On or about September 18, 2017, Plaintiff’s assistant reached out to Defendant



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Lockhart (and copied Plaintiff and Tony Fernandes) regarding the status of collecting the

remaining works stored with Defendant Lockhart as well as the delays and costs caused by

Defendant Lockhart’s failure to turn them over to Tony Fernandes.

      131.     On or about September 28, 2017, Defendant Lockhart responded that he had been

out of town due to hurricanes and Defendant Lockhart asked if pickup of the remaining works

could occur at the end of the following week. Plaintiff’s assistant responded asking for a specific

day for the collection of the remaining works.

      132.     On or about October 4, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Tony Fernandes) regarding the status of collecting the remaining works

stored with Defendant Lockhart.

      133.     On or about October 10, 2017, Plaintiff’s assistant followed up with Defendant

Lockhart (and copied Tony Fernandes) regarding the status of collecting the remaining works

stored with Defendant Lockhart.

      134.     On or about October 10, 2017, Plaintiff’s assistant reached out to Defendant

Lockhart (and copied Plaintiff and Tony Fernandes) to arrange for pickup of the remaining works

stored with Defendant Lockhart.

      135.     On or about October 16, 2017, Defendant Lockhart responded to Plaintiff’s

assistant (and copied Plaintiff and Tony Fernandes) and apologized for his delay but stated that he

was open for pickup of the remaining works on October 19, 2017.

      136.     On or about October 16, 2017, Tony Fernandes responded to Defendant Lockhart

and Plaintiff’s assistant (and copied Plaintiff) and stated that Transcrate’s partner Earth

Relocations and their representative Samir Shah would set up the collection for October 19, 2017.

      137.     On or about October 18, 2017, Tony Fernandes responded to Defendant Lockhart



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and Plaintiff’s assistant (and copied Plaintiff) and stated that Transcrate’s partner Earth

Relocations had tried contacting Defendant Lockhart but had not been able to reach him.

      138.     On or about October 19, 2017, Plaintiff’s assistant communicated with Defendant

Lockhart (and copied Plaintiff and Tony Fernandes) regarding the status of collecting the

remaining works stored with Defendant Lockhart (Tuppen, Theilker and Leblon). Tony Fernandes

confirmed that Earth Relocations had received confirmation from Defendant Lockhart that he

would send Earth Relocations the packing list and a collection time.

      139.     On or about October 21, 2017, Tony Fernandes responded to Plaintiff’s assistant

(and copied Plaintiff) and stated that Earth Relocations would collect the remaining art pieces on

October 24, 2017.

      140.     On or about October 24, 2017, Tony Fernandes responded to Plaintiff’s assistant

(and copied Plaintiff) and stated that Transcrate’s partner Earth Relocations was waiting to hear

from Defendant Lockhart regarding the pick-up date.

      141.     On or about October 31, 2017, Plaintiff’s assistant followed up with Tony

Fernandes (and copied Plaintiff) regarding the status of collecting the remaining works stored with

Defendant Lockhart.

      142.     On or about November 6, 2017, Plaintiff’s assistant communicated with Defendant

Lockhart (and copied Plaintiff and Tony Fernandes) regarding the status of collecting the

remaining works stored with Defendant Lockhart and frustrations related to the delays.

      143.     On or about November 13, 2017, Plaintiff’s assistant followed up with Tony

Fernandes (and copied Plaintiff) regarding the status of collecting the remaining works stored with

Defendant Lockhart.

      144.     On or about November 23, 2017, Plaintiff’s assistant followed up with Defendant



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Lockhart (and copied Plaintiff and Tony Fernandes) regarding the status of collecting the

remaining works stored with Defendant Lockhart.

      145.    On or about February 14, 2018, Defendants communicated with each other

(copying Plaintiff’s assistant) regarding the remaining non-shipped art pieces in response to

Defendant Berklay’s email that Berklay’s warehouse was moving and that Plaintiff’s stored works

must be disposed of and auctioned:

               Your artwork was picked up, crated, and stored now for over 3 years.

               We need your immediate disposition, please.

               At this juncture, all charges for one shipment made in 2015, plus pickups,
               crating, and storage exceed $8000.00.

               If you do not have any need for this work, we will go to court as of
               MARCH 1, and claim these goods as ABANDONED.

               Then, we will auction off to obtain the fees owed, and if any excess, we
               will keep for your advice on how to distribute to the artists in question.

               Thank you for your understanding.

               Best Regards,

               Dennis Klainberg
               President

      146.    On or about February 15, 2018, Defendant Berklay responded to Defendant

Lockhart (and copied Plaintiff’s assistant) and stated they were not aware of any lost items and

that Defendant Lockhart should come to the warehouse to look at the inventory. Defendant Berklay

stated they were moving in the next month and the issues related to pick up, crating, storage and

shipment or turnover to another agent needed to be settled and that, “You Andrew [Defendant

Lockhart] contracted with us to handle these matters.”

      147.    On or about February 15, 2018, Plaintiff’s agent, Marzouq Al Ghanim, Managing



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Director for Transcrate, emailed Defendants stating that it appeared Defendants had stolen

Plaintiff’s artwork because they were responsible for storing and shipping it to Plaintiff but are

now refusing and/or claiming the artwork was lost. Plaintiff’s assistant stated that Defendants

appeared to be engaged in a scam and Plaintiff would proceed legally.

      148.      On or about February 15, 2018, Defendants communicated with each other

(copying Plaintiff’s assistant and agent and Plaintiff) summarizing the situation and Defendant

Lockhart asked Defendant Berklay to release the remaining works while Defendant Berklay

invited Defendant Lockhart to come look for Plaintiff’s (two missing) works at the warehouse.

      149.      On or about May 14, 2018, Plaintiff learned that at least one of the Undelivered Art

Pieces had been re-auctioned to the public. Jose Parla’s Center Street, 2009-2010, which it appears

was stored with Defendant Berklay, was re-sold by the auction house managed by Paddle8 in New

York in 2017.

      150.      On or about September 14, 2023, Plaintiff’s Counsel received an email from

Defendant Berklay that “All items deposited in our warehouse by Mr. Lockhart have been returned

to Mr. Lockhart.”

                                   VI. CAUSES OF ACTION
                                    COUNT ONE: FRAUD

      151.      Under New York law, the five elements of a fraud claim are: (1) a material

misrepresentation or omission of fact; (2) made by defendant with knowledge of its falsity; (3) and

intent to defraud; (4) reasonable reliance on the part of the plaintiff; and (5) resulting damage to

the plaintiff. Schlaifer Nance & Co. v. Estate of Warhol, 119 F.3d 91, 98 (2d Cir.1997); Centro

Empresarial Cempresa S.A. v. América Móvil, S.A.B. de C.V. 17 N.Y.3d 269, 276 (2011).

      152.      Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendant Lockhart misrepresented on numerous occasions that he would purchase, acquire, store


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and ship Plaintiff’s Undelivered Art Pieces on her behalf and Defendant Berklay misrepresented

on numerous occasions that it would properly and legitimately store and ship Plaintiff’s

Undelivered Art Pieces on her behalf. (See e.g., Paragraph 35 above, from Defendant Lockhart

regarding Pryce Lee (Innocent Bystander): “the funds have arrived to my account and have since

been transferred to the artist. . . we will be arranging the shipping in a few days once the work has

been cleaned and proper crating has been secured. I will coordinate an email between you and the

shipper at that time;” Paragraph 37 above from Defendant Lockhart: “Also, all of the other works

here in the U.S will be rounded up this week and prepared for shipping. They are Pryce Lee -

Innocent Bystander, Pryce Lee - Street Hieroglyphics, Michael Staniak, Daniel Arsham – Guitars,

Murakami - Enso Painting, Kaws – Obliterate, James Austin Murray . . . I’ll get you the estimates

on all of these once they are all collected by the shipper on Tuesday and we can go from there;”

Paragraph 86 above from Defendant Berklay: “Standing ready!” to ship artwork; and Paragraph

98 above from Defendant Lockhart: Lockhart was finalizing the shipment paperwork and that the

works had been inventoried again). Defendants’ misrepresentations were material because Plaintiff

would not have paid for the Undelivered Art Pieces or their storage if she had known Defendants

had no intention to deliver the artwork.

      153.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendants were acting in concert by misrepresenting their intention to store and ship the

Undelivered Art Pieces to Plaintiff. Defendant Lockhart blamed Defendant Berklay for failure to

store and ship the artwork while Defendant Berklay pointed the finger at Defendant Lockhart for

the delays. In addition, Defendants initially stated that all of Plaintiff’s Undelivered Art Pieces

were accounted for and ready for shipment, and then each blamed the other for losing the work

and shipment delays. (See e.g., Paragraphs 65, 66, 72, 95, 100, 110, 113, 146-148 above). This



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concerted behavior is the hallmark of a classic “shell game.” Based on Defendants’ prior

relationship with each other, it appears Defendants were in regular communication regarding, and

in the advancement of, the fraud alleged herein.

      154.      Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendants knew these statements were false and that they did not intend to provide the

Undelivered Art Pieces to Plaintiff.

      155.      Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendants intended to defraud Plaintiff by taking her money without providing the Undelivered

Art Pieces and/or by retaining the Undelivered Art Pieces.

      156.      Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that based

on their past successful dealings, Plaintiff reasonably relied on Defendant Lockhart’s false

statements to purchase, acquire, (and engage Defendant Berklay) to store and ship Plaintiff’s

Undelivered Art Pieces on her behalf and paid Defendant Lockhart $381,975.

      157.      Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that based

on Defendant Lockhart’s relationship and past dealings with Defendant Berklay, Plaintiff

reasonably relied on Defendant Berklay’s agreement to store and ship Plaintiff’s Undelivered Art

Pieces on her behalf and permitted Defendant Berklay to take possession of the Undelivered Art

Pieces for storage prior to its shipment of same.

      158.      Plaintiff reasonably relied on Defendants’ false statements and provided payments

to and/or permitted Undelivered Art Pieces to be stored with Defendants based on Plaintiff’s

reliance.

      159.      Defendants have failed to provide the Undelivered Art Pieces to Plaintiff.

      160.      Plaintiff suffered damages in the loss of money and failure to receive the



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Undelivered Art Pieces which have likely increased in value.

                       COUNT TWO: FRAUD IN THE INDUCEMENT
                             AND MISREPRESENTATION

       161.     Fraud in the inducement and misrepresentation require that: (1) the defendants

made a misrepresentation or material omission of fact; (2) the misrepresentation or omission

induced the plaintiff to enter into a contract or purchase something from the defendants; (3) the

defendants knew the misrepresentation to be false and intended to induce the plaintiff’s reliance

(“scienter”); (4) the plaintiff justifiably relied on the misrepresentation or omission; and (5) the

misrepresentation or omission resulted in injury to the plaintiff. Pappas v. Tzolis, 20 N.Y.3d 228,

233 (2012).

       162.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendant Lockhart misrepresented on numerous occasions that he would purchase, acquire, store

and ship Plaintiff’s Undelivered Art Pieces on her behalf and Defendant Berklay misrepresented

on numerous occasions that it would store and ship Plaintiff’s Undelivered Art Pieces on her

behalf.

       163.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that it

appears that based on their prior relationship, Defendants were in communication with each other

and acting in concert by misrepresenting their intention to store and ship the Undelivered Art

Pieces to Plaintiff.

       164.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendants knew these statements were misrepresentations and that they did not intend to provide

the Undelivered Art Pieces to Plaintiff.

       165.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that

Defendants intended to defraud Plaintiff by inducing her reliance and taking her money without


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providing the Undelivered Art Pieces and/or by retaining the Undelivered Art Pieces.

      166.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that based

on their past successful dealings, Plaintiff justifiably relied on Defendant Lockhart’s statements to

purchase, acquire, (and engage Defendant Berklay) to store and ship Plaintiff’s Undelivered Art

Pieces on her behalf and paid Defendant Lockhart $381,975.

      167.     Plaintiff refers to and incorporates herein Paragraphs 19-150 and alleges that based

on Defendant Lockhart’s relationship with Defendant Berklay, Plaintiff justifiably relied on

Defendant Berklay’s agreement to store and ship Plaintiff’s Undelivered Art Pieces on her behalf

and permitted Defendant Berklay to take possession of the Undelivered Art Pieces for storage prior

to its shipment of same.

      168.     Plaintiff justifiably relied on Defendants’ false statements and provided payments

and/or permitted artwork to be stored with Defendants.

      169.     Defendants have failed to ship the Undelivered Art Pieces to Plaintiff.

      170.     Plaintiff suffered damages in the loss of money and failure to receive the

Undelivered Art Pieces which have likely increased in value.

                              VII. CONDITIONS PRECEDENT

   171.        All conditions precedent have been performed or have occurred.

                                     VIII. JURY DEMAND

   172.        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury.

                                          IX. PRAYER

   173.        WHEREFORE, Plaintiff respectfully requests judgment, awarding damages in

favor of Plaintiff in an amount to be determined at trial, but in no event less than $381,975, and/or




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the production of the Undelivered Art Pieces, and for such other and further relief as the Court

deems just and proper.



Dated: January 30, 2024

                                                   Respectfully submitted,

                                                   /s/ Gregg N. Sofer
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